Case: 1:18-cv-00269-ACL Doc. #: 110 Filed: 08/27/21 Page: 1 of 9 PageID #: 2025




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

QUINTA SANDERS,                       )
                                      )
      Plaintiff,                      )
                                      )
vs.                                   ) Case No.: 1:18-CV-00269
                                      )
MISSISSIPPI COUNTY, MISSOURI, et al., )
                                      )
      Defendants.                     )


        RESPONSE TO PLAINTIFF’S MOTION FOR LEAVE
       TO FILE SUPPLEMENTAL MEMORANDUM OF LAW
    IN OPPOSITION TO MISSISSIPPI COUNTY DEFENDANTS’
       MOTION TO ENFORCE SETTLEMENT AGREEMENT

         COMES NOW, Defendant Cory Hutcheson, and for his Response to Plaintiff’s Motion

for Leave (Doc. No. 109), states:

                                        ARGUMENT

    I.      This Court should not grant leave under the circumstances as Plaintiff has had
            the opportunity to argue and has argued her position that Mr. Spradling did not
            represent Mr. Hutcheson, but Plaintiff decided not to raise legal arguments
            regarding authority in the briefing.

         As this Court is aware, the parties (through their attorneys) attended a telephonic

conference concerning Mississippi County Defendants’ Motion to Enforce Settlement

Agreement (Doc. 90) filed on April 28, 2021. The Motion to Enforce concerns a letter sent to

Plaintiff’s counsel agreeing to pay Plaintiff MOPERM’s policy limits of $2,000,000.00 as a full

and final settlement of Plaintiff’s claims against the Mississippi County Defendants, including

Cory Hutcheson, subject to the Court’s approval of the wrongful death settlement.




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Case: 1:18-cv-00269-ACL Doc. #: 110 Filed: 08/27/21 Page: 2 of 9 PageID #: 2026




        This Court provided ten days to the parties to determine whether there was any change in

the parties’ respective positions. On Monday, August 23, 2021, counsel for Plaintiff Sam Wendt

and counsel for Defendant Hutcheson Robert Plunkert spoke briefly before Mr. Plunkert had to

abruptly return to a proceeding in progress. Mr. Plunkert sent an e-mail the following day asking

that Mr. Wendt let him know if there was “anything else you want to cover[.]” Ex. A. Plaintiff’s

attorney neither informed this Court during the conference nor the undersigned of his intention to

file a Motion for Leave during this Court’s ten-day grace period before issuing a ruling. As

referenced by the undersigned during the telephonic conference with the Court, there is a

pending set of deadlines under this Court’s Fourth Amended Case Management Order (a reason

for using a time limit of a ten-day period of time). The undersigned understands from the

telephone conference that this Court has considered the motion and is prepared rule on the issue

on or near August 31, 2021.

        Plaintiff’s asserted grounds for requesting leave to file her supplemental memorandum is

the supposed factual contention Mr. Spradling does not represent Defendant Hutcheson in this

case and the resulting legal contention that Mr. Spradling lacked authority to accept the

settlement offer on behlf of Hutcheson. Plaintiff was capable of raising these arguments during

the regular briefing period. She failed to do so.

        Mr. Spradling stated,




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{02412867.DOCX;1}
Case: 1:18-cv-00269-ACL Doc. #: 110 Filed: 08/27/21 Page: 3 of 9 PageID #: 2027




Doc. 90-3. (Emphasis in original.) The Plaintiff’s attorney did not question Mr. Spradling’s

authority to accept the offer on behalf of Cory Hutcheson in his response e-mail. Doc. 90-4. The

Motion to Enforce the Settlement expressly began, “COME NOW the Mississippi County

Defendants, including Cory Hutcheson. . .” Doc. 90, p. 1. Plaintiff was aware of this and

specifically argued that Mr. Spradling did not represent Cory Hutcheson. Doc. 96, pp. 5–6.

Plaintiff chose not to include any arguments she now seeks to raise regarding the issue of

authority. See Doc. 96

          Based on asserting Mr. Spradling did not represent Mr. Hutcheson and failing to raise

these arguments in any previous briefing (occurring over three months ago), this Court should

deny leave for further arguments.

    II.      This Court should not grant leave, as the proposed arguments would be futile.

          Plaintiff argues that Mr. Spradling did not represent Mr. Hutcheson, so he did not have

authority to accept an offer on Mr. Hutcheson’s behalf. This is an incorrect assertion as a matter

of law and fact.

          A. Law

          Under Missouri law, defense counsel retained by an insurance company represents both

the insurer and the insured. In re Allstate Ins. Co., 722 S.W.2d 947, 952 (Mo. banc 1987) (citing

Helm v. Inter-Ins. Exch., 192 S.W.2d 417[, 420] (Mo. banc 1946), and stating that Helm

“recognizes that defense counsel retained by an insurance company actually represent both

insurer and insured.”). Plaintiff has admitted that “MOPERM hired Albert Spradling to defend

the Mississippi County Defendants” in this matter. Doc. 96, p. 3. There is no dispute

Mr. Spradling represents, inter alia, MOPERM in this matter. Accordingly, though Plaintiff is in

possession of the MOPERM policy in this matter, she has provided no evidence to this Court that

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{02412867.DOCX;1}
Case: 1:18-cv-00269-ACL Doc. #: 110 Filed: 08/27/21 Page: 4 of 9 PageID #: 2028




Mr. Spradling lacked authority under the MOPERM policy to accept a settlement on behalf of its

insureds. See Ex. B, MOPERM Policy, p. 31 (“MOPERM may make such investigation,

negotiation or settlement of any claim or suit as it deems expedient.”). To the extent Plaintiff

requests such authority between MOPERM and Mr. Spradling, this Court should not require the

waiver of the attorney-client privilege and disclosure of protected communications between

MOPERM and Mr. Spradling to refute Plaintiff’s argument (which itself is unsupported by any

evidence).1

        Plaintiff cites to Rosenblum v. Jacks or Better of Am. W. Inc., 745 S.W.2d 754, 760 (Mo.

App. E.D. 1988) and Carroll v. Ghidoni, 730 S.W.2d 280, 283 (Mo. App. E.D. 1987).

Rosenblum does not pertain to a Plaintiff seeking to escape enforcement of the acceptance of his

or her settlement demand, but addressed cases where the client seeks to “disprove his own

attorney’s authority if the client wishes to avoid the settlement.” 745 S.W.2d at 762. Here, these

add nothing as no defendant is seeking to avoid the settlement.

        Carroll is the most similar to this matter and still does not support Plaintiff’s arguments.

In Carroll, a plaintiff appealed from the trial court’s order regarding compelling a settlement,

and the Missouri Court of Appeals affirmed. 730 S.W.2d at 281. The plaintiff challenged

defendant’s attorney’s authority to bind defendant to an agreement (not executed by either party).

Id. at 283–84. The Carroll Court rejected plaintiff’s argument and stated, “[Defendant’s] lawyer

did not deny he had authority to settle and [plaintiff’s] lawyer did not present evidence, at the

hearing on the motion to compel settlement, that he believed [defendant’s] lawyer did not have

authority to settle. . . [t]he course of conduct of [defendant’s] lawyer shows he had authority for


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  Should this Court require it, Defendant Cory Hutcheson anticipates Mr. Spradling could provide writings or an
individual from MOPERM to testify to confirm Mr. Spradling had authority to accept the demand consistent with
Doc. 90-3. Mr. Spradling can better address this point, as he represents, inter alia, MOPERM in this matter.

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{02412867.DOCX;1}
Case: 1:18-cv-00269-ACL Doc. #: 110 Filed: 08/27/21 Page: 5 of 9 PageID #: 2029




his actions.” Id. at 283. Here, Mr. Spradling’s course of conduct, including waiting for

MOPERM to have a special meeting to discuss settlement authority on April 23, 2021, at 10:00

a.m. (Doc. 90, p. 2), followed by his letter, affirms his authority to accept a settlement offer on

behalf of the MOPERM insured Defendants, including Defendant Hutcheson, in this matter. To

the extent this Court is inclined to grant Plaintiff’s Motion for Leave, Defendant Cory Hutcheson

anticipates the need for an evidentiary hearing or to have exhibits submitted for an in camera

review which will support Mr. Spradling’s authority to act on behalf of MOPERM.

        Plaintiff cites to Aetna Cas. & Sur. Co. v. Traders Nat'l Bank & Tr. Co., which is also

distinguishable. 514 S.W.2d 860 (Mo. App. W.D. 1974). There, it appears as though an attorney

forged his client’s signature on a settlement check and release and absconded with the settlement

funds paid by an insurer to settle the client’s personal injury claim resulting from an automobile

accident. See id. at 862–63. The insurer sued the bank that released the funds to the attorney

(apparently producing a forged signature of the client). Id. The bank contended the attorney had

apparent authority to sign the draft on behalf of his client. Id. at 866–67. The Court concluded

that the attorney did not inform the bank he had authority from his client regarding the settlement

draft, and that there was “no basis to now claim that [the attorney] made representations

sufficient to constitute apparent authority.” Id. at 866.

        Aetna is readily distinguishable as Mr. Spradling has explained throughout this Response;

he had authority to accept Plaintiff’s demand on behalf of MOPERM and Cory Hutcheson.

Further, Mr. Hutcheson makes no claim that Mr. Spradling lacked authority to send the letter

accepting the demand (Doc. 90-3). To the contrary, Mr. Hutcheson has authorized it. See infra,

Section B.




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{02412867.DOCX;1}
Case: 1:18-cv-00269-ACL Doc. #: 110 Filed: 08/27/21 Page: 6 of 9 PageID #: 2030




           B. Fact

           Plaintiff made a “demand to MOPERM” (Doc. 90-1, p. 7) for settlement on behalf of

“anyone insured by MOPERM” (Doc. 90-1, p. 7). When MOPERM agreed to cover

Mr. Hutcheson, based on the efforts of the undersigned, and in light of the Plaintiff’s attorney’s

demand, MOPERM obtained the contractual right to settle the claim on behalf of Mr. Hutcheson.

Contrary to Plaintiff’s arguments, Mr. Hutcheson’s consent was not required for any such

settlement. See Ex. B.

           Even if Cory Hutcheson was required to provide consent for the acceptance to be

effective, the acceptance would be authorized because Cory Hutcheson did authorize it. As

evidences from the language of the acceptance itself (Doc. 90-3), the undersigned undertook

considerable efforts to demand coverage by MOPERM on behalf of Defendant Hutcheson.

Mr. Spradling called the undersigned and advised that MOPERM was covering Mr. Hutcheson

and of his intent to send the acceptance letter to Plaintiff’s attorney. The undersigned, on behalf

of Cory Hutcheson, authorized this, to the extent any authorization was needed.

           Plaintiff has argued that Defendant Hutcheson has not supplemented his Rule 26

disclosures to reflect a change in coverage or representation. Doc. 109-1, p. 2. This is incorrect.

On May 15, 2019, Defendant Cory Hutcheson supplied his initial Rule 26(a)(1) disclosures

stating:




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{02412867.DOCX;1}
Case: 1:18-cv-00269-ACL Doc. #: 110 Filed: 08/27/21 Page: 7 of 9 PageID #: 2031




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To date, Defendant Cory Hutcheson is to supplement his disclosures in the event “additional or

corrective information has not otherwise been made known to the other parties during the

discovery process or in writing.” Fed. R. Civ. P. 26(e)(1)(A). The April 26, 2021, letter from Mr.

Spradling constitutes information “otherwise made known to Plaintiff” in compliance with Fed.

R. Civ. P. 26(e)(1)(A).

                                                 CONCLUSION

         Plaintiff’s attorney caused a series of events to occur based on the Plaintiff’s settlement

demand, including causing the undersigned’s attempts to obtain coverage through MOPERM.

These events contributed (to the best of the undersigned’s knowledge) instigation of a discussion

at a special MOPERM meeting on April 23, 2021, at 10:00 a.m. (Doc. 90, p. 2), while Mr.


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  Due to the inclusion of addresses, Defendant will supply its full Rule 26 Disclosures in the event this Court
requires it under seal or pursuant to Court Order. Defendant has omitted this information out of respect to the parties
and witnesses, at this stage.

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{02412867.DOCX;1}
Case: 1:18-cv-00269-ACL Doc. #: 110 Filed: 08/27/21 Page: 8 of 9 PageID #: 2032




Spradling was out of town. After Mr. Spradling informed the undersigned of this change of

position by MOPERM, and as was approved by the undersigned, to the extent such was

necessary, Mr. Spradling then sent the letter accepting the Plaintiff’s demand on behalf of all

MOPERM insureds, including Defendant Hutcheson (Doc. 90-3).

        Should this Court grant leave for Plaintiff to file a supplemental memorandum (which

Defendant respectfully requests that leave be denied), Defendant requests that it be entitled to

produce evidence consistent with the above.



                                               /s/ Robert T. Plunkert
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                                               Robert T. Plunkert #62064MO
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                                               8

{02412867.DOCX;1}
Case: 1:18-cv-00269-ACL Doc. #: 110 Filed: 08/27/21 Page: 9 of 9 PageID #: 2033




       I hereby certify that a copy of the foregoing filed electronically with the Clerk of the
Court to be served by operation of the Court's electronic filing system upon the following or U.S.
mail for parties not registered with CM/ECF, on this 27th day of August, 2021:

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                                                /s/ Robert T. Plunkert




                                                9

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